














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


					




NO. PD-1272-13





ERNEST LEYBA, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTEENTH COURT OF APPEALS

HARRIS COUNTY





Per curiam. KEASLER and HERVEY, JJ., dissent.

ORDER

	The petition for discretionary review violates Rule of Appellate Procedure 68.4(j), 
because the copies of the petition for discretionary review do not contain  the court of appeals
opinion.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.


Filed: January 15, 2014

Do Not Publish


